Case 4:13-CV-00389-RAW Document 1-1 Filed 09/11/13 Page 1 of 3

EXHEB!`TA

 

Case 4:13-CV-00389-RAW Document 1-1 Filed 09/11/13 Page 2 of 3

 

 

 

,(,€ Q.,;Q§c__ §§ §§\sl § m \s>§€<'§ §;';M§ §
E- FIL.F,D 2013 JUL 17 11'451£\1\4'] POL'r(~ CLERK OF DIS\\ {RiCT COURT q
%\“€>§ o

IN 'l`HE IOWA DIS'{`RICT COUR'[` FOR POLK COUNTY

ROBERT CLAoss, v _ 1
Plaintii°f, ; Law No,£§/+L`JC /2 J’ /J'¢

 

‘J'S.

sLACKBooK CAPYFAL, l,. co .,
osf¢ndam, : escrow AT L.-sw

 

CUMES NO'W tile Plsintiff, attorney Robert Ciouss sod in support
of his cause ol` action against the Defeodant states to the Court ss follows:

l. 'l" he Plaim_if‘f is s resident of Poll< County, Iowa.

2 The Defeoclsnt is a legal entity doing business in the Stato of`New York.

3 ()ver the past several months, De)‘_endoni, zhco'ogh its agents, has contacted
Plointiff on six {6) separate occasions all in violation of the `Do Not Coll provisions of the
l`CPA 47 U S. C. 22? (b) (3) 16 Cl R 319. 4 (b){ll l)(a} 17 CF‘R 64.1200(0)(2).

4. 'Despi'le being repeatedly told by Piaintifl`f.'hzo: he was oo the Do i'-lot Coll list mud foot
Defemlsnt was calling P}ainc:ii`t` at home on an o£f»!iz'oizs mmsl)er, Defeoclaol has continued to
cell Plainiifl`.

5. 'I'he TCPA provides for penalties of $5{}0.00 per violation plus treble damages per
violation up to $1500.00 per violations

6. Defenclant continued to call Piaintifl` in violation oft.'ne statute despite numerous

assurances by Defendant not to do so knowing Plsintil`f is on the Do Not Call list.

" for $9,000.00 for

 
 

WHERBFORE, Plaintiff prays for judgment against Defe/

 
  
 

violations of the TCPA plus court costs including interest at ‘

Robell Clauss-Plaintiff
9923 Clark St.

Ciive, Iowa 5032
Telephone'. 515-225-3665

 

 

n CaSe 4:-13-CV-Q7Q38-9-RAVV¢ Docu__ment 1-1 Filed 09/11/13 Page 3 of 3

lN TH,E IO WA ,DIS'[`RICT COURT FOR POLK COUNTY

LBWNO_£LA-@C /.2 ~P/M
no osm CLAUss, -
Pia'lnf'lfi`, O'RlG |'N,(\L NOT[CE

'BLACKBGOK CAPl‘{`A`L,LLC,
Dcfenrlam.

 

TO THE ABO"VE-NAMED DEFEN'DANT:

You are hereby notified that mere is now on tile in the Gl?t`ice of the C{erlr of die
€\bove Court, s l)E'l`l'l`iDN A'l` liAW, a copy of which is attached hereto
rl`h_e P_lointiff`s attorney is Robert Clouss, 9923 Clnrk St., Clive, lowa, 50325. Thru`. los
ielepi:lone number is {515) 225-3663

"i'ou ore hereby notified inst unless_. “-s'irhjn 20 days offer service of this Or~iginol

i\forice upon ;~'ou, you ser.vc, san within s rer§=onr€ole lime rhereui’rer file motion or
ariswer, in the lowe District Court for Polk Couoty, at the County Courthouse in
Des Moines, IA, judgment by default will be rendered against you for the relief
demanded in the Pelition. If you require the assistance of auxiliary aids or services lo
participate in court because of a dissbility, immediately call your district ADA
coordinator 31236~3843. (lf you are hearing iinpaired, call Relo.y lowe 'I'TY al

1~800-735-29¢32).

 

CLERK OF 'FHE ABOVE COURT
Polk County Courthouse
Dcs Moines, iowa 503()9

NOTE: The attorney who is expected to represent the Defendant
should be promptly advised by Def`endant of the service of this Notiee.

 

 

